     Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 1 of 21




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



TITAN CONSORTIUM 1, LLC,

             Petitioner,
                                       Case No. 1:21-cv-02250 (JMC)
v.

THE ARGENTINE REPUBLIC,

             Respondent.




     REPLY MEMORANDUM OF LAW OF THE REPUBLIC OF ARGENTINA IN
           FURTHER SUPPORT OF ITS MOTION TO DISMISS




                                   CLEARY GOTTLIEB STEEN & HAMILTON LLP

                                   Carmine D. Boccuzzi, Jr. (D.C. Cir. NY0335)
                                   One Liberty Plaza
                                   New York, New York 10006
                                   (212) 225-2000

                                   Rathna J. Ramamurthi (D.C. Cir. NY0337)
                                   2112 Pennsylvania Avenue NW
                                   Washington, DC 20037
                                   (202) 974-1515
            Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 2 of 21




                                                  TABLE OF CONTENTS

                                                                                                                                    Page

TABLE OF AUTHORITIES .............................................................................................. iii

PRELIMINARY STATEMENT ........................................................................................ 1

ARGUMENT ...................................................................................................................... 2

TITAN’S PETITION IS TIME-BARRED ......................................................................... 2

          A. The Court Should “Borrow” The Three-Year Statute of
             Limitations Applicable to FAA Enforcement Proceedings ............................. 2

          B. If The Court Looks To State Law Then D.C. Code § 16-4425
             – Applicable To The Enforcement of Arbitral Awards – Is
             More Appropriately Applied Here................................................................... 15

CONCLUSION ................................................................................................................... 15




                                                                   -ii-
            Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 3 of 21




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Agency Holding Corp. v. Malley-Duff & Assocs., Inc.,
   483 U.S. 143 (1987) ...................................................................................................................6

Altmann v. Repub. of Austria,
   142 F. Supp. 2d 1187 (C.D. Cal. 2001) .....................................................................................5

Am. Pipe & Constr. Co. v. Utah,
   414 U.S. 538 (1974) .................................................................................................................14

Bd. of Regents of Univ. of State of N. Y. v. Tomanio,
    446 U.S. 478 (1980) ...................................................................................................................4

Blanco v. Am. Tel. & Tel. Co.,
   689 N.E.2d 506 (N.Y. 1997) ....................................................................................................14

Blue Ridge Invs., LLC v. Repub. of Arg.,
   735 F.3d 72 (2d Cir. 2013).........................................................................................................3

Blue Ridge Invs., LLC v. Repub. of Arg.,
   902 F. Supp. 2d 367 (S.D.N.Y. 2012)..................................................................................6, 12

Cassirer v. Kingdom of Spain,
   461 F. Supp. 2d 1157 (C.D. Cal. 2006) .....................................................................................5

Duke Energy Int'l Peru Invs. No. 1 LTD. v. Repub. of Peru,
   904 F. Supp. 2d 131 (D.D.C. 2012) .........................................................................................14

Doe v. Islamic Salvation Front,
   257 F. Supp. 2d 115 (D.D.C. 2003) ...........................................................................................2

Flatow v. Islamic Repub. of Iran,
   76 F. Supp. 2d 28 (D.D.C. 1999) ...............................................................................................8

Flight Options, LLC v. Int’l Bhd. of Teamsters, Airline Div.,
    315 F. Supp. 3d 318 (D.D.C. 2018) ...........................................................................................4

Gater Assets Ltd. v. AO Gazsnabtranzit,
   413 F. Supp. 3d 304 (S.D.N.Y. 2019)........................................................................................4

                                                                   -iii-
            Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 4 of 21




InfraRed Env’t Infrastructure GP Ltd. v. Kingdom of Spain,
    No. CV 20-817 (JDB), 2021 WL 2665406 (D.D.C. June 29, 2021) .......................................13

Karaha Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara,
   364 F.3d 274 (5th Cir. 2004) .....................................................................................................6

Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain,
  397 F. Supp. 3d 34 (D.D.C. 2019) ...........................................................................................13

Micula v. Gov’t of Rom.,
   104 F. Supp. 3d 42 (D.D.C. 2015) ...........................................................................................11

Micula v. Gov’t of Rom.,
   404 F. Supp. 3d 265 (D.D.C. 2019) .........................................................................................14

Miminco, LLC v. Dem. Rep. Congo,
   79 F. Supp. 3d 213 (D.D.C. 2015) ...........................................................................................14

Mobil Cerro Negro, Ltd. v. Bolivarian Repub. of Venez.,
  863 F.3d 96 (2d Cir. 2017)...............................................................................................3, 9, 11

Nat’l Am. Corp. v. Fed. Repub. of Nigeria,
   448 F. Supp. 622 (S.D.N.Y. 1978).............................................................................................7

OGI Grp. Corp. v. Oil Projects Co. of Ministry of Oil,
  No. 19-CV-2619 (APM), 2020 WL 6342886 (D.D.C. Oct. 29, 2020) ......................................5

Petrol Shipping Corp. v. Kingdom of Greece, Ministry of Com., Purchase Directorate,
   360 F.2d 103 (2d Cir. 1966) ......................................................................................................6

Rovin Sales Co. v. Socialist Repub. of Rom.,
   403 F. Supp. 1298 (N.D. Ill. 1975) ............................................................................................7

RREEF Infrastructure (G.P.) Ltd. v. Kingdom of Spain,
  No. 1:19-CV-03783 (CJN), 2021 WL 1226714 (D.D.C. Mar. 31, 2021)................................13

RSM Prod. Corp. v. Fridman,
  643 F. Supp. 2d 382 (S.D.N.Y. 2009)........................................................................................6

Saudi Basic Indus. Corp. v. Exxonmobil Corp.,
   194 F. Supp. 2d 378 (D.N.J. 2002) ............................................................................................5

Schlumberger Tech. Corp. v. United States,
   195 F.3d 216 (5th Cir. 1999) .....................................................................................................8
                                                                -iv-
             Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 5 of 21




Sisso v. Islamic Repub. of Iran,
    448 F. Supp. 2d 76 (D.D.C. 2006) .............................................................................................5

Sistem Muhendislik Insaat Sanayi Ve Ticaret, A.S. v. Kyrgyz Republic,
    741 F. App’x 832 (2d Cir. 2018) ........................................................................................... 5-6

TECO Guat. Holdings, LLC v. Repub. of Guat.,
  414 F. Supp. 3d 94 (D.D.C. 2019) ...........................................................................................14

Tidewater Inv. SRL v. Bolivarian Repub. of Venez.,
   No. 17-1457 (TJK), 2018 WL 6605633 (D.D.C. Dec. 17, 2018) ............................................11

Watkins v. Conway,
   385 U.S. 188 (1966) .................................................................................................................11

Statutes

9 U.S.C. § 1 ......................................................................................................................................7

9 U.S.C. § 201 .................................................................................................................................3

9 U.S.C. § 207 ........................................................................................................................ passim

22 U.S.C. § 1650a .................................................................................................................. passim

28 U.S.C. § 1334(a) .........................................................................................................................3

28 U.S.C. § 1338(a) .........................................................................................................................3

28 U.S.C. § 1391 ..........................................................................................................................4, 5

28 U.S.C. § 1609 .......................................................................................................................... 8-9

28 U.S.C. § 1610 .......................................................................................................................... 8-9

28 U.S.C. § 1963 ............................................................................................................................11

D.C. Code § 12-307 .................................................................................................................10, 12

D.C. Code § 12-301(8)...............................................................................................................2, 15

D.C. Code § 15-101 .............................................................................................................9, 10, 13

D.C. Code § 16-4425 ................................................................................................................2, 15


                                                                       -v-
            Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 6 of 21




N.Y. C.P.L.R. § 5402(b) ................................................................................................................12

Other Authorities

ICSID Convention, Art. 25 ..............................................................................................................5

ICSID Convention, Art. 53 ............................................................................................................11

ICSID Convention, Art. 54 ............................................................................................................11

ICSID Convention, Art. 55 ..............................................................................................................8




                                                                  -vi-
           Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 7 of 21




          Respondent the Republic of Argentina (the “Republic”) respectfully submits this reply

memorandum in further support of its motion to dismiss the petition of Petitioner Titan

Consortium 1, LLC (“Titan”) pursuant to Federal Rule of Civil Procedure 12(b)(6) as time-

barred.

                                  PRELIMINARY STATEMENT

          Titan does not argue, nor could it, that the absence of a limitations period in 22 U.S.C.

§ 1650a means that an assignee of an ICSID arbitral award has an unlimited time to seek to

convert that award into a federal court judgment. As both parties agree, the Court’s task is to

determine what limitations period to apply to this action—from an analogous federal statute or

from state law. Here, there is a compelling federal interest in uniformity of enforcement

proceedings with respect to ICSID arbitral awards, so much so that Congress divested state

courts from exercising jurisdiction over such proceedings. That interest strongly favors the

borrowing of the federal three-year limitations period in the legislation implementing another

treaty of the United States—the Convention on the Recognition and Enforcement of Foreign

Arbitral Awards, 9 U.S.C. § 207.

          Moreover, when Congress enacted Section 1650a and directed that ICSID awards receive

the same full faith and credit due “a final judgment of a court of general jurisdiction of one of the

several States,” the statutes in the District of Columbia addressing the enforcement of a sister

state judgment and the limitations period applicable to enforcing a D.C. Superior Court judgment

were already in place. Those statutes by their terms cannot apply to an ICSID award even if

deemed a sister state judgment because neither establish any applicable D.C. limitations period;

one applies only to D.C. judgments, and the other points to the sister state’s limitations period,

neither of which governs here. Accordingly, it strains credulity that Congress could have
         Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 8 of 21




intended for ICSID awards sought to be enforced in this Court to have an indeterminate (not

simply non-uniform) limitations period.

       Finally, even if the Court were to look to D.C. law for a limitations period to borrow, the

closest analogue, the D.C. statute for confirming an arbitral award, is also subject to a three-year

limitations period. See D.C. Code § 16-4425; D.C. Code § 12-301(8).

       Accordingly, Titan’s action is time-barred under either a federal or state limitations

period and should be dismissed.

                                           ARGUMENT

                               TITAN’S PETITION IS TIME-BARRED

           A. The Court Should “Borrow” The Three-Year Statute of Limitations
              Applicable to FAA Enforcement Proceedings

       As Titan concedes, Pet. Br. at 6-7, where, as here, a federal statute on which its action is

based does not contain a limitations period, the Court must borrow a limitations period from

another source. Rep. Br. at 4.1 As set forth in the Republic’s opening brief, although courts

often look to relevant state law to borrow a limitations period, it is “significantly more

appropriate” to look to another federal statute to find a limitations period especially where there

are important “federal policies at stake.” Id. (citing DelCostello v. Int’l Bhd. of Teamsters, 462

U.S. 151, 172 (1983); Doe v. Islamic Salvation Front, 257 F. Supp. 2d 115, 118-19 (D.D.C.

2003) (citing Reed v. United Transp. Union, 488 U.S. 319, 324 (1989)).




1
 Unless otherwise noted, terms are defined in the Memorandum of Law of the Republic of
Argentina in Support of its Motion to Dismiss the Petition to Enforce Arbitral Award (Jan. 14,
2022), ECF No. 12 (“Rep. Br.”). “Pet. Br.” is Petitioner’s Opposition to Respondent’s Motion to
Dismiss (Jan. 28, 2022), ECF No. 13. As noted previously, Rep. Br. at 3 n.1, the Republic does
not waive and expressly preserves all rights and defenses related to the purported assignments
among Titan, Claimants, and other entities, as well as all rights and defenses in connection with
enforcement in relation to awards under the ICSID Convention.

                                                  2
         Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 9 of 21




       Here, Section 1650a is animated by important federal interests in the uniformity of ICSID

enforcement proceedings. See Rep. Br. at 4-8. The statute provides that an ICSID arbitral award

“shall create a right arising under a treaty of the United States,” an exclusively federal domain.

22 U.S.C. § 1650a(a). The strongest indication of Congressional interest in uniformity is its

determination to vest jurisdiction over the conversion of an unenforceable ICSID arbitral award

into an enforceable court judgment exclusively in the federal courts, with no role for state courts

to play in the statutory scheme, see 22 U.S.C. § 1650a(b), much like the restriction of patent,

copyright, and bankruptcy cases solely to the federal courts, see 28 U.S.C. § 1338(a); 28 U.S.C.

§ 1334(a). Indeed, the Second Circuit Court of Appeals has recognized a particular need in

ICSID award enforcement actions for “national uniformity in procedure” and to promote “the

values of predictability and federal control that foreign affairs demands.” Mobil Cerro Negro,

Ltd. v. Bolivarian Repub. of Venez., 863 F.3d 96, 118 (2d Cir. 2017).2

       Those federal interests are best served by application of the three-year limitations period

for the enforcement of foreign arbitral awards found in Chapter 2 of the FAA, 9 U.S.C. § 207.

The legislation implementing the New York Convention, like 22 U.S.C. § 1650a, was adopted

with the purpose of enabling “the uniform and efficient enforcement of arbitration agreements

and awards in foreign commerce.” Kearney Statement at 8 (Ex. D, Decl. of Rathna J.

Ramamurthi) (Jan. 14, 2022, ECF No. 12-5). Also like 22 U.S.C. § 1650a, 9 U.S.C. § 201 et seq.

was implemented to give effect to treaty obligations undertaken by the United States. It is these

strong federal interests—in addition to state law’s “fail[ure] to provide a perfect analogy,” Pet.




2
 While the district court in Blue Ridge addressed the appropriate limitations period, the Second
Circuit found that it did not have appellate jurisdiction to consider the issue. Blue Ridge Invs.,
LLC v. Repub. of Arg., 735 F.3d 72, 79 n.11 (2d Cir. 2013). Accordingly, Mobil Cerro Negro’s
call for uniformity carries even more weight.

                                                 3
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 10 of 21




Br. at 10-11, as established below—that warrant application here of a limitations period adopted

from a federal statute. The limitations period applicable to international arbitral awards is thus

the natural analogue for actions under 22 U.S.C. § 1650a, and accordingly the three-year statute

of limitations as codified in 9 U.S.C. § 207 should control.

       Titan does not and cannot dispute that this federal interest in uniformity underlies Section

1650a. Titan argues only that those uniformity concerns are not dispositive or are not implicated

here because ICSID award enforcement actions predominantly are filed in this District. Pet. Br.

at 21-23 (citing 28 U.S.C. § 1391(f)).3 That is incorrect. Contrary to Titan’s assertion, this

Court is not the only proper venue for enforcement of ICSID awards. For example, where an

ICSID arbitration is held in any U.S. state, venue in that state would be proper under 28 U.S.C.

§ 1391(f)(1) because the relevant “events or omissions” giving rise to the claim in the

enforcement action would be deemed to have occurred in that forum. See Gater Assets Ltd. v.

AO Gazsnabtranzit, 413 F. Supp. 3d 304, 328 (S.D.N.Y. 2019) (New York was proper venue,

because location of “original default judgement can serve as the ‘substantial part of the events’

under § 1391(f)(1) to retain venue in a subsequent motion to renew”), aff’d in part, vacated in

part on other grounds, remanded sub nom. Gater Assets Ltd. v. AO Moldovagaz, 2 F.4th 42 (2d

Cir. 2021); see also Flight Options, LLC v. Int’l Bhd. of Teamsters, Airline Div., 315 F. Supp. 3d



3
  Since the federal interest in uniformity does not apply in “federal actions to enforce a state
judgment,” it is unsurprising that “federal courts uniformly borrow state statutes of limitations in
such actions.” See Pet. Br. at 9, 9 n.2 (collecting cases). Relatedly, Titan misleadingly quotes
Bd. of Regents of Univ. of State of N. Y. v. Tomanio, 446 U.S. 478, 489 (1980). Pet. Br. at 23
(misquoting that “‘[t]he need for uniformity … has not been held to warrant the displacement of
state statutes’ where, as here, ‘Congress has provided direction’ to the contrary”). In reality, the
Supreme Court ruled that “the need for uniformity, while paramount under some federal
statutory schemes, has not been held to warrant the displacement of state statutes of limitations
for civil rights actions” and that “Congress has provided direction” “in the areas to which § 1988
is applicable.” Tomanio, 446 U.S. at 489 (emphasis added). Here, Congress has not “indicat[ed]
that state law” should apply to ICSID awards. Id.

                                                 4
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 11 of 21




318, 319 (D.D.C. 2018) (private commercial arbitration in D.C. created sufficient “substantial

contacts” for finding of proper venue for motion to vacate arbitral award).

       ICSID claims may also be brought against foreign state agencies or instrumentalities. See

ICSID Convention art. 25(1)-(3) (“The jurisdiction of the Centre [ICSID] shall extend to any

legal dispute arising directly out of an investment, between a Contracting State (or any

constituent subdivision or agency of a Contracting State designated to the Centre by that State),”

and “[c]onsent by a constituent subdivision or agency of a Contracting State shall require the

approval of that State unless that State notifies the Centre that no such approval is required.”); 28

U.S.C. § 1391(f)(3); see also OGI Grp. Corp. v. Oil Projects Co. of Ministry of Oil, No. 19-CV-

2619 (APM), 2020 WL 6342886 (D.D.C. Oct. 29, 2020) (venue rules for foreign state and

foreign state instrumentalities not coextensive).4

       Moreover, as Titan acknowledges, Pet. Br. at 22, improper venue is a defense that, if not

timely pursued, is waived by a sovereign defendant. See Sisso v. Islamic Repub. of Iran, 448 F.

Supp. 2d 76, 82 n.8 (D.D.C. 2006) (“A defendant, properly served with process by a court

having subject matter jurisdiction, waives venue by failing seasonably to assert it.”) (citing

Hoffman v. Blaski, 363 U.S. 335, 343 (1960)); see, e.g., Sistem Muhendislik Insaat Sanayi Ve




4
  See, e.g., Cassirer v. Kingdom of Spain, 461 F. Supp. 2d 1157, 1177 (C.D. Cal. 2006) (venue
was proper in the Northern District of California where Spain’s instrumentality did business, in
satisfaction of Section 1391(f)(3)), aff’d in part, rev’d in part, 580 F.3d 1048 (9th Cir. 2009), on
reh’g en banc, 616 F.3d 1019 (9th Cir. 2010), and aff’d in part, appeal dismissed in part, 616
F.3d 1019 (9th Cir. 2010); Altmann v. Repub. of Austria, 142 F. Supp. 2d 1187, 1215 (C.D. Cal.
2001) (venue proper under Section 1391(f)(3) where the instrumentality-defendant does business
in the venue), aff’d and remanded, 317 F.3d 954 (9th Cir. 2002), opinion amended on denial of
reh’g, 327 F.3d 1246 (9th Cir. 2003), and aff’d on other grounds, 541 U.S. 677 (2004); Saudi
Basic Indus. Corp. v. Exxonmobil Corp., 194 F. Supp. 2d 378, 410-11 (D.N.J. 2002) (venue was
proper in New Jersey because the defendant, a Saudi government-owned instrumentality, was
“doing business” in New Jersey), order vacated in part, 364 F.3d 102 (3d Cir. 2004), rev’d and
remanded, 544 U.S. 280 (2005).

                                                  5
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 12 of 21




Ticaret, A.S. v. Kyrgyz Republic, 741 F. App’x 832 (2d Cir. 2018) (venue waived); Karaha

Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 364 F.3d 274 (5th Cir.

2004) (same); Blue Ridge Invs., LLC. v. Repub. of Arg., 902 F. Supp. 2d 367 (S.D.N.Y. 2012)

(same), aff’d sub nom. Blue Ridge Invs., L.L.C. v. Repub. of Arg., 735 F.3d 72 (2d Cir. 2013);

RSM Prod. Corp. v. Fridman, 643 F. Supp. 2d 382 (S.D.N.Y. 2009) (same), aff’d, 387 F. App’x

72 (2d Cir. 2010). Accordingly, relying on the venue rules and the case-specific litigation

strategy of foreign states is an unreliable means of achieving the federal interest in uniformity. A

singular, nationwide federal limitations period applicable to a cause of action arising under a

treaty of the United States and having no particular relationship to any state or territory is far

more effective to promote uniformity and treating comparably all foreign states and their

agencies or instrumentalities subject to ICSID awards. Agency Holding Corp. v. Malley-Duff &

Assocs., Inc., 483 U.S. 143, 154 (1987) (“The multistate nature of RICO indicates the desirability

of a uniform federal statute of limitations,” as opposed to “the typical § 1983 suit, in which there

need not be any nexus to interstate commerce, and which most commonly involves a dispute

wholly within one State.”). ICSID arbitral disputes, like RICO claims, are typically not centered

in a single state, and thus a uniform federal limitations period should control.

       Finally, the FSIA venue rules adopted in 1976 were not in the contemplation of Congress

in 1967 when it adopted the ICSID Convention statute. At that time, there was no specific venue

rule for where in the United States foreign states may be sued. Instead, prior to the FSIA venue

rules, the venue analysis tracked jurisdiction. Petrol Shipping Corp. v. Kingdom of Greece,

Ministry of Com., Purchase Directorate, 360 F.2d 103, 106 (2d Cir. 1966) (“[I]n an action

against a sovereign just as in any other suit, jurisdiction must be acquired either by service of

process, or by the defendant’s appearance in court, or in rem by seizure and control of property.



                                                  6
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 13 of 21




Only after such jurisdiction is acquired, does the sovereign immunity defense properly come into

consideration. Instead of being a ‘jurisdictional’ matter in the same sense as acquiring

jurisdiction over a person or property, sovereign immunity presents a ground for relinquishing

the jurisdiction previously acquired.”).5 So Congress could hardly have been relying on the yet-

to-be-enacted FSIA venue rules to achieve the uniformity it plainly was seeking a decade earlier

with respect to ICSID award enforcement proceedings.

       Titan’s remaining contentions are also unavailing.

       First, Titan argues that 9 U.S.C. § 207 cannot be borrowed in this case because 22 U.S.C.

§ 1650a(a) states that the “Federal Arbitration Act [“FAA”] shall not apply to enforcement of

awards rendered pursuant to the convention.” See Pet. Br. at 14. As previously explained, Rep.

Br. at 4-6, 22 U.S.C. § 1650a was enacted before the New York Convention obligations were

codified in Chapter 2 of the FAA. At that time, the FAA consisted of provisions designed to

apply to domestic, not foreign, arbitral awards, see generally 9 U.S.C. § 1 et seq., and the

exclusion of such provisions within that context makes perfect sense. In fact, in enacting

Chapter 2 of the FAA concerning international arbitration, Congress explicitly rejected the idea

that many of the provisions previously codified in Chapter 1 of the FAA–including the one-year

statute of limitations–would be appropriate for the enforcement of foreign arbitral awards. See,

e.g., Kearney Statement at 8 (Ex. D, Decl. of Rathna J. Ramamurthi) (Jan. 14, 2022, ECF No.

12-5) (stating the one-year statute of limitations contained within the FAA for seeking




5
 See also Nat’l Am. Corp. v. Fed. Repub. of Nigeria, 448 F. Supp. 622, 635 (S.D.N.Y. 1978),
aff’d, 597 F.2d 314 (2d Cir. 1979) (“[P]rior to the passage of the [FSIA], litigants usually chose a
quasi-in-rem attachment as the means of asserting jurisdiction over a foreign state,” which is not
specific for sovereigns); see also Rovin Sales Co. v. Socialist Repub. of Rom., 403 F. Supp. 1298,
1302 (N.D. Ill. 1975) (conducting long-arm jurisdictional analysis for sovereign defendant based
on Romania’s “transaction of business and . . . commission of tortious acts”).

                                                 7
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 14 of 21




enforcement of domestic arbitral awards “was much too short” for the enforcement of

international arbitral awards, and “the consensus was that 3 years is a reasonable period”).

       Second, Titan relies on the statement in Section 1650a(a) that an ICSID “award shall be

enforced and shall be given the same full faith and credit as if the award were a final judgment of

a court of general jurisdiction of one of the several States,” to contend that any limitations period

applicable to arbitral awards is not appropriately adopted here. Pet. Br. at 8-9. But Titan ignores

that an ICSID arbitral award, just like an international commercial award, is not enforceable in

this country until it is converted into a court judgment. Schlumberger Tech. Corp. v. United

States, 195 F.3d 216, 220 (5th Cir. 1999) (award holder unable to collect because private “award

has no legal effect without the stamp of judicial approval”). Moreover, if such a judgment is not

timely sought, that award is “null and void” for enforcement purposes in the United States.

Flatow v. Islamic Repub. of Iran, 76 F. Supp. 2d 28, 29 (D.D.C. 1999) (denying attachment of

private arbitral award, where limitations period had run, resulting in an “expired, unenforceable

award”). Here, Titan is seeking a judgment because it does not already hold an enforceable

instrument. E.g., Pet. ¶ 37; accord Pet. Br. at 8 (conceding that enforcement requires

“convert[ing the] award into an enforceable judgment”) (citation omitted). Accordingly, the

federal limitations period for confirmation of an arbitral award provides a closer analogue than a

statute of limitations for local enforcement of a judgment that has already been rendered by some

court and is already enforceable in another jurisdiction within the United States. Nor does a

federal court judgment on an ICSID arbitral award give its holder any greater rights or entail any

broader sovereign immunity exceptions than a judgment on any other arbitral award against a

foreign sovereign. See ICSID Convention art. 55 (“Nothing in Article 54 shall be construed as

derogating from the law in force in any Contracting State relating to immunity of that State or of



                                                  8
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 15 of 21




any foreign State from execution.”); 28 U.S.C. §§ 1609, 1610.

       Moreover, the statutory language affording an ICSID award “the same full faith and

credit as if the award were a final judgment of a court of general jurisdiction of one of the several

States,” does not identify the relevant limitations period or speak at all to either the questions of

procedure applicable to this type of proceeding or even the legal standard applicable to the

Court’s determination whether to enforce the ICSID award. 22 U.S.C. § 1650a(a). In Mobil

Cerro Negro, the Second Circuit held that ICSID award enforcement actions are plenary suits

with the foreign state defendant being served with process and subject to the venue rules of any

other action against a foreign state. 863 F.3d at 120, 124.

       Third, the state statute of limitations Titan advocates for, found in D.C. Code § 15-101,

simply does not apply to the ICSID awards as Congress directed it be treated under Section

1650a(a). D.C. Code § 15-101 establishes that a money judgment of the D.C. Superior Court or

of the United States District Court for the District of Columba is “enforceable, by execution

issued thereon, for the period of twelve years only from the date when an execution might first

be issued thereon, or from the date of the last order of revival thereof,” after which period “the

judgment or decree shall cease to have any operation or effect.” D.C. Code § 15-101(a)-(b).

This provision is inapplicable by the plain terms of Section 1650a, which require this Court to

treat the ICSID award not as a judgment of the D.C. Superior Court, but as a judgment of another

state (“one of the several States”), as the doctrine of full faith and credit applies by its terms only

to the judgments of another jurisdiction and not to one’s own judgment. Congress could have

said in Section 1650a that an ICSID award is to be treated “as a final judgment of a court of

general jurisdiction of” “the District of Columbia,” or of “the federal district where enforcement

is sought.” But it did not and instead treats an ICSID award as “foreign” to the jurisdiction



                                                   9
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 16 of 21




where enforcement is sought. Accordingly, D.C. Code § 15-101’s twelve-year period for

enforcing in-state D.C. judgments is affirmatively inapplicable to the out-of-state treatment

Congress directed be afforded to ICSID awards, based on the plain text of the two statutes.

       Nor can Titan rely on the District of Columbia’s limitations period within which to

commence a plenary action on a sister state money judgment set out in D.C. Code § 12-307.6

That section expressly adopts as the D.C. time bar the limitations period of the State, territory,

commonwealth, or possession of the United States that issued the judgment for enforcing such

judgment. Accordingly, the District of Columbia has no limitations period of its own for this

type of action; it is entirely derivative of whichever one of the more than fifty U.S. States,

territories, commonwealths, or possessions rendered the judgment. However, as Titan

acknowledges, because ICSID awards are “rendered by an ICSID tribunal, not any ‘State,

territory, commonwealth,’ or ‘foreign country,’ it is undisputed that ‘there is no rendering state’s

limitations period to which to refer.’” Pet. Br. at 10.

       Indeed, both D.C. Code §§ 15-101 and 12-307 were adopted in 1963, before 22 U.S.C.

§ 1650a was enacted, meaning that if Congress anticipated enforcement proceedings with respect

to ICSID awards taking place in this Court, there was no available or analogous state law

limitations period Congress could have expected this Court to borrow. The combination of

inapposite state law choices–based on their geographic misalignment, D.C. Code § 15-101, and

their inapplicable look-through to a rendering state, D.C. Code § 12-307–and interest in federal




6
  “An action upon a judgment or decree rendered in a State, territory, commonwealth or
possession of the United States or in a foreign country is barred if by the laws of that jurisdiction,
the action would there be barred and the judgment or decree would be incapable of being
otherwise enforced there.” D.C. Code § 12-307.

                                                 10
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 17 of 21




uniformity militate strongly in favor of borrowing the federal three-year limitations period in 9

U.S.C. § 207.

       The overarching point in Congress’s choice of words in 22 U.S.C. § 1650a is not to

weigh in on the most appropriate analogue from which to borrow a statute of limitations, but

rather to make clear what type of review federal courts were to give to ICSID awards in deciding

whether to enforce them.7 As Titan’s own authorities teach, the “full faith and credit” language

means that ICSID awards are not to be subject to substantive challenges on the merits. See

Tidewater Inv. SRL v. Bolivarian Repub. of Venez., No. 17-1457 (TJK), 2018 WL 6605633, at *7

(D.D.C. Dec. 17, 2018) (cited in Pet. Br. at 16) (granting default judgment where plaintiff

“demonstrated to the Court’s satisfaction that it is the proper creditor to a valid ICSID award

against Venezuela”); Mobil Cerro Negro, 863 F.3d at 102, 118 (cited in Pet. Br. at 16) (award

debtor “[is] not . . . permitted to make substantive challenges” regarding the “ICSID award’s

merits, its compliance with international law, or the ICSID tribunal’s jurisdiction to render the

award”) (emphases added); see also ICSID Convention, Arts. 53(1), 54(1) (ICSID awards are

treated as “binding,” “final judgment[s]” that are not “subject to any appeal or to any other

remedy except those provided for in th[e] Convention.”).8


7
  Notably, in Section 1650a, Congress also did not provide, as it could have, that an ICSID award
shall be treated as if the award were a final judgment of a federal district court other than where
enforcement is sought, and thus be subject to registration in this Court pursuant to 28 U.S.C. §
1963 (“A judgment in an action for the recovery of money or property entered in any . . . district
court . . . may be registered by filing a certified copy of the judgment in any other district. . . . A
judgment so registered shall have the same effect as a judgment of the district court of the district
where registered and may be enforced in like manner.”). It is well-settled that, by its plain terms,
Section 1963 does not permit the registration of a judgment of a state court, as Section 1650a
directs ICSID awards be deemed.
8
 Watkins v. Conway, 385 U.S. 188, 189 (1966) (cited in Pet. Br. at 14-15) held that application
of a different limitations period to enforcement of an out-of-state judgment was not
discriminatory and did not violate the full faith and credit clause. And Micula v. Gov’t of Rom.,
104 F. Supp. 3d 42, 49 (D.D.C. 2015) (cited in Pet. Br. at 6, 8) held that an ICSID award could

                                                  11
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 18 of 21




       Titan relies heavily on an out-of-circuit ruling in Blue Ridge, 902 F. Supp. 2d 367, where

in considering New York state law alternatives the court chose to borrow New York’s limitations

period for enforcement of judgments. See Pet. Br. at 13-14.9 The court in Blue Ridge stated that

a federal statute of limitations should apply where “the federal policies at stake and the

practicalities of the litigation render the federal limitation a significantly more appropriate

vehicle for interstitial lawmaking,” but then did not engage in an analysis of any federal interests

(i.e., uniformity is not mentioned once in the decision). 902 F. Supp. 2d at 386 (citing Manning

v. Utils. Mut. Ins. Co., Inc., 254 F.3d 387, 393-94 (2d Cir. 2001)). In any event, New York law

at least offered a theoretically workable limitations period for the task at hand. Unlike D.C. law

which derives the deadline for enforcing sister state judgments from the statute of limitations of

the state that issued the judgment, the New York statute of limitations for judgment enforcement

provides a fixed period for enforcement of sister state judgments in New York court. Compare

Blue Ridge, 902 F. Supp. 2d at 388 (explaining that “New York courts have held that out-of-state

money judgments are subject to the [fixed] statute of limitations in CPLR § 211(b)”) (citing

Schoonheim v. Epstein, 123 A.D.2d 549, 549 (1st Dep’t 1986)), and N.Y. C.P.L.R. § 5402(b)

(New York courts “shall treat the foreign judgment in the same manner as a judgment of the

supreme court of this state”), with D.C. Code § 12-307. This is a critical difference—in Titan’s

own words, D.C. Code § 12-307 would be the analogue to the provision applied in Blue Ridge,

and application of D.C. Code § 12-307 is “impossible” for ICSID awards so “not a viable option”




not be confirmed on an ex parte basis and instead a plenary action and notice to the sovereign
were required. Neither case has any application here.
9
 Titan acknowledges that no Court in this circuit has “confront[ed] the issue raised . . . here.”
Pet. Br. at 1.

                                                  12
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 19 of 21




here. Pet. Br. at 10 (emphasis added). The Blue Ridge decision thus does not answer the

question at issue.

       Fourth, Titan asserts that a three-year limitations period is too short because in some

number of ICSID cases there are annulment proceedings of above-average length that last for

over three years and which may result in award of additional costs. Pet. Br. at 19-20. An award

holder could initiate an enforcement action and seek a stay as needed in the event that annulment

proceedings are brought or take longer than anticipated. See, e.g., InfraRed Env’t Infrastructure

GP Ltd. v. Kingdom of Spain, No. CV 20-817 (JDB), 2021 WL 2665406 (D.D.C. June 29, 2021)

(granting defendant’s motion to stay pending decision of the annulment committee); RREEF

Infrastructure (G.P.) Ltd. v. Kingdom of Spain, No. 1:19-CV-03783 (CJN), 2021 WL 1226714

(D.D.C. Mar. 31, 2021) (same); Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain,

397 F. Supp. 3d 34 (D.D.C. 2019) (same). Here, the annulment proceedings ended one year and

ten months after the award was rendered and more than two years before Titan filed its claim.

       As to the possibility that award holders may first seek to enforce their awards in other

jurisdictions, Pet. Br. at 20, as Titan acknowledges, the FAA’s three-year limitations period was

created specifically “to allow time for . . . initial enforcement efforts outside the United States,”

id. at 21. Titan claims this is insufficient still because of “unique delays” in matters involving

sovereigns, id., but has no explanation for why an action could not be initiated before the end of

the limitations period. If anything, borrowing a uniform federal limitations period would

increase predictability for award holders as they make strategic choices. Again, Titan makes no

showing that this barrier of a three-year limitations period prevented it from timely filing here.

       Titan also incorrectly asserts that a statute of limitations period shorter than the twelve-

years pursuant to D.C. Code § 15-101 for in-state judgments is unnecessary because the “central



                                                  13
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 20 of 21




purpose” of a statute of limitations is to prevent memories from fading and evidence being lost

Pet. Br. at 17 (citing Wilson v. Garcia, 471 U.S. 261 (1985)), concerns that are not relevant to

enforcement of an ICSID award. However, finality—more than concern for proof issues—is

also a central goal of a statute of limitations, as are fairness and repose. Am. Pipe & Constr. Co.

v. Utah, 414 U.S. 538, 554 (1974) (describing “policies of ensuring essential fairness to

defendants and of barring a plaintiff who ‘has slept on his rights’”; “the right to be free of stale

claims in time comes to prevail over the right to prosecute them”); see also Blanco v. Am. Tel. &

Tel. Co., 689 N.E.2d 506, 513 (N.Y. 1997) (“In examining the policies underlying Statutes of

Limitation, this Court has emphasized both a defendant’s interest in repose [and issues of

proof].”).

       Indeed, the sufficiency of a three-year limitations period is demonstrated by the fact that

in all cases where this Court has enforced an outstanding monetary award issued by an ICSID

tribunal the action was timely initiated within a three-year limitations period.10




10
   Titan cites certain cases to dispute this, but all are distinguishable. See Pet. Br. at 14 n.4. In
TECO Guat. Holdings, LLC v. Repub. of Guat., 414 F. Supp. 3d 94 (D.D.C. 2019), an original
award was issued in December 2013 but the annulment award being enforced–which created
separate monetary obligations on a new claim for loss of value–was issued in April 2016, nine
months before the action was filed. In Micula, the initial enforcement petition was filed in April
2014, five months after the ICSID award was issued, and the November 2017 filing followed a
Second Circuit ruling on venue. See Micula v. Gov’t of Rom., 404 F. Supp. 3d 265 (D.D.C.
2019), aff’d, 805 F. App’x 1 (D.C. Cir. 2020) (discussing procedural history in New York,
Micula v. Gov’t of Rom., No. 15 MISC. 107, 2015 WL 4643180 (S.D.N.Y. Aug. 5, 2015), rev’d
Micula v. Gov’t of Rom., 714 Fed. App’x 18, 21-22 (2d Cir. 2017)). Miminco did not involve a
standard monetary award but rather a settlement agreement signed by the arbitrators where some
payments were made over the years, and finally petitioners filed suit when they were unable to
collect. Miminco, LLC v. Dem. Rep. Congo, 79 F. Supp. 3d 213 (D.D.C. 2015). See also Duke
Energy Int’l Peru Invs. No. 1 LTD. v. Repub. of Peru, 904 F. Supp. 2d 131 (D.D.C. 2012)
(defendant paid the entire award, and the suit—brought three years and 19 days after the award
was issued—related to disagreement on calculation of interest).

                                                  14
        Case 1:21-cv-02250-JMC Document 15 Filed 02/04/22 Page 21 of 21




           B. If The Court Looks To State Law Then D.C. Code § 16-4425 – Applicable To
              The Enforcement of Arbitral Awards – Is More Appropriately Applied Here

       Titan also misreads the text of Section 1650a(a) in rejecting D.C.’s limitations period

governing the judicial enforcement of arbitral awards as categorically inapplicable to ICSID

awards. Pet. Br. at 18 n.6. An ICSID award is still an arbitral award and the time limits for

converting other types of arbitral awards into a judicially enforceable judgment are necessarily

analogous to ICSID awards. Accordingly, even if the Court were inclined to look to state law for

the limitations period to govern this action, the most closely analogous D.C. statute is the D.C.

Arbitration Act. D.C. Code § 16-4425. By operation of D.C. Code § 12-301(8), petitioners have

three years to apply to a court to convert an arbitration award into an enforceable judgment and

consequently borrowing that limitations period would also render this action untimely.

                                         CONCLUSION

       For the foregoing reasons, the Republic’s Motion to Dismiss should be granted.

 Dated: New York, New York
        February 4, 2022                CLEARY GOTTLIEB STEEN & HAMILTON LLP



                                        Carmine D. Boccuzzi, Jr. (D.C. Cir. NY0335)
                                        One Liberty Plaza, New York, New York 10006
                                        T: 212-225-2000; cboccuzzi@cgsh.com
                                        Rathna J. Ramamurthi (D.C. Cir. NY0337)
                                        2112 Pennsylvania Avenue NW Washington, DC 20037
                                        T: 202-974-1515; rramamurthi@cgsh.com

                                        Attorneys for the Republic of Argentina




                                                15
